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                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT O F FLO RIDA
                            Case No.13-CV-24324-W ILLIA MS


  ERIC JO HNSO N,

        Plaintiff,

  VS.

  REALPAGE,INC.,

        Defendant.
                           /

               ORDER GRANTING PLAINTIFF'S MO TION FO R REMA ND

        THIS MATTER is before the Courton pro se Plaintiffs Motion to Rem and this

  action to state courtID.E.15). Forthe reasonsstated below,Plaintiffs Motion is
  G RANTED and the case is hereby REMANDED to state coud.

            Background
         Plaintiff,a citizen ofFlorida,originally filed this defam ation action against

  Defendant,a Texas corporation,in the CircuitCourtofthe Eleventh JudicialCircuitin

  and forMiami-Dade County,Florida,on November12,2013 ID.E.1-1).In his
  Complaint,Plaintiffalleges thatDefendanterroneously identified Plaintiffas a registered

  sex offenderin a background screening repod Defendantsupplied to the m anagers of

  an apartmentcom plex w here Plaintiffhad applied foran apadm ent. Id. Plaintiffs

   Complaintseeks damages inexcessof$15,000. Id.On November27,2013,
   Defendantremoved the case from state coud to thisCourtpursuantto 28 U.S.C.j 1441
   and 28 U.S.C.j 1332 ID.E.1). ln itsnotice ofremoval,Defendantarguesthatthe true
   amountin controversy inthis matterexceeds$75,000,thus meeting the criteriaforthis
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  court'sdiversi
               tyjurisdiction under28 U.S.C.j 1332(a).As proofthatPlaintiff'sclaim
  meets the am ount-in-controversy requirem ent,Defendantpoints to a settlement

  demand of$4 million made by Plaintiff'sformercounseland Plaintiff'sfailure to respond
  to defense counsel's queries aboutthe amountPlaintiffseeks. Id. In addition,

  Defendantalleges thatPlaintiffhasmade an additional$250,000 settlementdemandto

  Defendant's insurance carrierID.E.10 at5). In his Motion to Remand ID.E.15)and in a
  previouslyfiled Memorandum in Oppositionto RemovalID.E.7),Plaintiffarguesthat
  Defendanthas failed to m eetits burden in showing thatthe am ountin controversy

  exceeds $75,000. Plainti
                         ffalso hasfiled a declaration inwhich he states hiswillingness
  to settle the matterfor$74,500,below the Coud'sjurisdictionalthreshold ID.E.13 at3J.
     II.      Discussion

           Districtcouds have originaljurisdiction overdiversitycases in which the padies
  are completely diverse and the amountin controversyexceeds $75,000.28 U.S.C.j
  1332(a).W hen a case is removed to federalcoud from state court,the removing pady
  bearsthe burden ofproving thatfederaljurisdiction exists. See W lliams ?.BestBuy
  Co.tInc.,269 F.3d 1316,1319 (11th Cir.2001).W here,as here,a Plaintiffhas not
  pleaded a speci
                fic am ountofdam ages,the removing defendantm ustprove by a

  preponderance ofthe evidence thatthe amountin controversy exceedsthejurisdictional
  requirement. Id.(citing Kirkland ?.Midland Mortgage Co.,243 F.3d 1277,1280 (11th
  Cir.2001).
           ,TapscottB.MS DealerSem Corp.,77 F.3d 1353,1357 (11th Cir.1996),
  overruled on othergroundsby Cohen 7.Office Depot,204 F.3d 1069 (11th Cir.2000)).
  A defendantseeking rem ovalm ay subm itaffidavits,declarations orotherevidence to

  meetits burden ofshowing ajurisdictionalbasisforremoval.SeePretka v.KolterCity


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  P/aza //,Inc.,608 F.3d 744,755 (11th Cir.2010).The Courtmay considerevidence
  subm itted subsequentto the rem ovalpetition,as Iong as the evidence pertains to the

  time ofremoval. Sierminski?.Transouth FinancialCo@ .,216 F.3d 945,949 (11th Cir.
  2000). Settlementoffers ordemand Iettersqualify asrelevantpapersthe coud may
  considerindeciding whetherremovalisjustified. SeeLowery F.Alabama PowerCo.,
  483 F.3d 1184,1212 n.62 (11th Cir.2007).W here plaintiffand defendantclash about
  jurisdiction,uncedainties are resolved in favorofremand. Bum s B.W ndsorIns.,31
  F.3d 1092,1095 (11th Cir.1994).
        Defendantbases its argum entforrem ovalprim arily on a settlem entdem and of

  $4 million made onOctober9,2013 - before this suitwasfiled - by Plaintiffsformer
  counsel,Carlos0 .Fernandez (D.E.10-23.Defendantarguesthatthis demand
  conclusivelyestablishesthatPlaintiffseeksmore than $75,000 inthis action,bringing

  the case withinthe Court'sdiversityjurisdiction ID.E.1II!I4-5).
        As noted above,a courtshould give some consideration to a Plaintifs settlement

  dem and w hen determ ining whethera case should be remanded. See Burns,31 F.3d at

  1097 (while a ''settlementoffer,by itself,maynotbe determinative,itcountsfor
  somethingn).The more impodantquestion ishow muchweighta settlementdemand
  deserves. A settlem entofferthatcontains little m ore than 'lpuffing and posturing''

  should be afforded Iittle weight,whereas a settlementoffercontaining specific
  information suppoding Plaintiff's dem and fordam ages,suggesting thatthe plaintiffis

  ''offering a reasonable assessmentofthe value of(his)claim,''isentitled to greater
  weight.Jackson ?.Se/ecfPortfolio Servicing,Inc.,651F.supp.zd 1279,1281(S.D.Ala.




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  2009)(citing Golden Apple Mgmt.Co.B.GEAC Computers,Inc.,990 F.supp.1364,
  1368 (M.D.Ala.1998)).
        Afterreviewing the October9,2013,Ietterfrom Plainti
                                                          f s form ercounselto

  Defendant,the Courtfindsthatthe $4 million settlementdemand does notrepresenta
  'reasonable assessm ent'ofthe value ofthe claim as pleaded in the Com plaint.As an

  initialm atter,the Courtnotes thatthe dem and Iettersoughtto settle notonly Plaintiff's

  defamation claim ,butalso potentialclaims underthe FairCreditRepoding Act(D.E.10-
  2 at2),The ComplaintPlaintiffultimatelyfiled,however,containsonly a single
  defamation claim ID.E.1-1).Therefore,the scope ofDefendant'spotentialIiability from
  the Com plaintis clearly narrowerthan itwould have been had Plaintifffiled the m ore

  am bitious Iawsuitdescribed in the dem and Ietter.
        W hile a sizeable portion ofthe dem and letteris devoted to Plaintiffs potential

  defamation dam ages,few ofthe dam ages described in the letterrise above a

  speculative Ievel,and the bases formany ofthese theories ofrecovery neverm ade it

  into the Complaintthatw as ultim ately filed. Forexam ple,Plaintiffs formercounsel
  soughtdam ages forPlaintiffs 'tlostbusiness oppodunities,''a claim based m ainly on

  Plaintifrs ''concerns''thatthe false inform ation provided by Defendantwould som ehow

  be com m unicated to governmentagencies,harm ing Plaintifrs ability to seek

  governmentcontracts through hisbusiness ID.E.10-2 at6-7J. However,nowhere does
  the Ietterallege thatthe false inform ation was in factcom m unicated to the government.

  Id.at7 (''should the information contained in the false reportcreated byRealpage end
  up in a governm entdatabase ...itwould cause irreparable harm to my client's

  governmentcontracting business,with potentialdamagesfarin excess of$10


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  million''ltemphasis added).More importantlyforpurposes ofthisanalysis,the
  Complaintbefore the Courtdoes notcontain any claim fordam ages from Iostbusiness

  oppodunities(D.E.1-1). Similarly,Plainti
                                         frsformercounselclaimed thathe willsu#er
  damages of$20,000 a yearfor16 years asthe estimated costto 'dpreventcontinued
  prom ulgation ofthese false crim inalhistory reports,''butthe Iettercontains no factual

  basisforthis eye-popping expense (D.E.10-2 at7).Considering thatPlaintil does not
  yetknow the extentofthe publication ofthe allegedly defam atory material- and that

  Defendant's primary audience is Iim ited to 'landlords,owners and propedy managers in

  the multi-family residentialindustry'
                                      '(D.E.1-1117)- the Courtfinds itdifficultto give
  m uch credence to these prospective dam ages as a 'reasonable assessm ent''ofthe

  claim'sworth,padicularly whenviewed againstthe backdrop ofa $4 million settlement
  dem and. And while both the dem and letterand the subsequentCom plaintcontain

  dam ages claim s based on Plaintifrs tem porary housing costs,storage costs and

  medicalexpenses,neitherPlaintiffnorhis form ercounselattached any precise am ount

  to these dam ages,thus providing insu#icientspecificity to form the basis ofa finding

  thatthe damagesexceed thejurisdictionalthreshold of$75,000.
         In sum ,the Coud finds thatthe O ctober9,2013,dem and letterfrom Plaintiff's

  formercounselamounts to no more than i'puffing and posturing.''Itis clearthatthe$4
  m illion figure dem anded by Plaintif s form ercounselwas notbased on a 'reasonable

  assessment''ofPlaintiff's dam ages,butwas instead an attem ptto piggy-back on other

  large claim s facing Defendant. ln the Ietter,Plaintiff's form ercounselasserted thathe

  was planning to file a Com plaintthat''closely tracks m any ofthe causes ofaction in

  M inorB.Realpage,''a five-countclass-action suitin California thatDefendantdisclosed


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  publicly in a documents filed with the Securities and Exchange Com m ission in 2011

  ID.E.10-2 at2,5).The one-countpro se Complaintnow beforethe Coud bears Iittle
  resemblance to the ambitious $4 million Iitigation threatened by Plaintiff'sformer
  counselin the dem and Ietter. Forthese reasons,the Courtfinds thatthe dem and Ietter

  failsto prove thatthe amountincontroversy inthis actionexceeds $75,000.
         In its M otion,Defendantalso em phasizes Plaintiffs refusalto stipulate thathis

  damages do notexceed $75,000 ID.E.10 at5J. However,Plaintifrs failure to stipulate
  thatthe amountin controversy is less than $75,000 is notsufficientevidence thatthe
  amountincontroversyexceeds$75,000. See,e.g.,Golden e.Dodge-Markham Co.,

  Inc.,1 F.Supp.2d 1360,1365 (M.D.Fla.1998)*
                                           ,Columbus,Georgia ?.Orbitz,Inc.,
  No.4:06-cv-81(HL),2007 W L 1545086,at*2 (M.D.Ga.May 24,2007),
                                                              .Head B.Wal-
  MarfStores,Inc.,No.7:13-CV-82(HL),2007 W L4763736,at*3 (M .D.Ga.Sept.4,
  2013),
       .W lliams,269 F.3d at1320 (''There are severalreasonswhya plainti
                                                                       ffwould not
  so stipulate,and a refusalto stipulate standing alone doesnotsatisfy (a defendant's)
  burdenofproofonthejurisdictionalissue'
                                       '). Defendanthasalso submitted an amdavit
  from Donna Robeds,a claim s analystwith Defendant's insurance carrier,who declares

  thatPlaintiffmade a $250,000 settlementdemand in a phone callto heron December
  3,2013 (10-4). However,there is nothing ofrecord indicating thatthis offerreflects
   Plaintiffs estim ation ofthe value ofhis claim atthe tim e ofrem oval. See Sierm inski,

  216 F.3d at949 (holding thatjurisdictionalfacts contained inpost-removalaffidavits
   ''mustbe judged atthe time ofremovaln). Moreover,the sim ple money demand,without
   any specific inform ation suppoding it,cannotbe accepted as anything m ore than fudher

   ''puffing and posturing.'' Jackson,651 F.Supp.2d at1280.
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          ln sum ,the Courtconcludesthat,atthis early stage in the litigation,uncertainty

  overthe am ountin controversy favors rem and. See Burns,31 F.3d at1095. Therefore,

  the Courtfinds thatDefendanthas failed to prove by a preponderance ofthe evidence

  thatthe amountincontroversy inthis matterexceedsthejurisdictionalrequirementof
  $75,000. Forthese reasons,Plaintifrs MotionforRemand (D.E.15)is GRANTED,and
  this case is hereby REMANDED to CircuitCourtofthe Eleventh JudicialCircuitin and

  forM iam i-Dade County,Florida. However,Defendantm ay again seek rem ovali
                                                                           ffudher

  discovery reveals m ore conclusive evidence thatthe am ountin controversy in this

  matterexceeds$75,000.
          DONEAND ORDEREDinChambersinMiami,Florida,this/ dayofJanuary,
  2014.


                                                  KATHLE N M .W ILLIAM S
                                                  UNITED TATES DISTRICT JUDGE

  Copies furnished to:
  Counselofrecord

  Eric Johnson,pro se
  1101 BrickellAve.#310639
  M iam i,FL 33231
